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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 23-mj-00047-GMH
CHRISTOPHER CARNELL and : VIOLATIONS:
DAVID WORTH BOWMAN, : 18 U.S.C. §§ 1512(c)(2), 2
: (Obstruction of an Official Proceeding)
Defendants. : 18 U.S.C. § 1752(a)(1)
: (Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(A)

(Entering and Remaining on the Floor of
Congress)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere,
CHRISTOPHER CARNELL and DAVID WORTH BOWMAN, attempted to, and did,
corruptly obstruct, influence, and impede an official proceeding, that is, a proceeding before

Congress, specifically, Congress’s certification of the Electoral College vote as set out in the

Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.
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(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
COUNT TWO

On or about January 6, 2021, in the District of Columbia, CHRISTOPHER CARNELL
and DAVID WORTH BOWMAN did knowingly enter and remain in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President was and would be temporarily visiting, without
lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, in the District of Columbia, CHRISTOPHER CARNELL
and DAVID WORTH BOWMAN did knowingly, and with intent to impede and disrupt the
orderly conduct of Government business and official functions, engage in disorderly and disruptive
conduct in and within such proximity to, a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President was and would be temporarily visiting, when and so that such conduct did in
fact impede and disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FOUR
On or about January 6, 2021, in the District of Columbia, CHRISTOPHER CARNELL
and DAVID WORTH BOWMAN willfully and knowingly entered and remained on the floor of

a House of Congress, that is, the Floor of the Senate, without authorization to do so.
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(Entering and Remaining on the Floor of Congress, in violation of Title 40, United
States Code, Section 5104(e)(2)(A))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, CHRISTOPHER CARNELL
and DAVID WORTH BOWMAN, willfully and knowingly engaged in disorderly and disruptive
conduct within the United States Capitol Grounds and in any of the Capitol Buildings with the
intent to impede, disrupt, and disturb the orderly conduct ofa session of Congress and either House
of Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a
committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SIX
On or about January 6, 2021, in the District of Columbia, CHRISTOPHER CARNELL
and DAVID WORTH BOWMAN, willfully and knowingly paraded, demonstrated, and picketed
in any United States Capitol Building.
(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,

United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Prt bold

Attorney of the United States in
and for the District of Columbia.
